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02

03

04                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
05                                     AT SEATTLE

06 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR16-287-JLR
07         Plaintiff,                     )
                                          )
08         v.                             )
                                          )            DETENTION ORDER
09   BALTAZAR REYES GARCIA,               )
                                          )
10         Defendant.                     )
     ____________________________________ )
11

12 Offense charged:        Conspiracy to Distribute Controlled Substances

13 Date of Detention Hearing:     November 15, 2016.

14          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

15 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

16 that no condition or combination of conditions which defendant can meet will reasonably

17 assure the appearance of defendant as required and the safety of other persons and the

18 community.

19         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          1.     Defendant has been charged with a drug offense, the maximum penalty of which

21 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

22 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).



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01         2.      Defendant was born in Mexico, and is alleged to be in the country without legal

02 documentation. He does not contest entry of an order of detention.

03         3.      Taken as a whole, the record does not effectively rebut the presumption that no

04 condition or combination of conditions will reasonably assure the appearance of the defendant

05 as required and the safety of the community.

06 It is therefore ORDERED:

07      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

08         General for confinement in a correction facility separate, to the extent practicable, from

09         persons awaiting or serving sentences or being held in custody pending appeal;

10      2. Defendant shall be afforded reasonable opportunity for private consultation with

11         counsel;

12      3. On order of the United States or on request of an attorney for the Government, the

13         person in charge of the corrections facility in which defendant is confined shall deliver

14         the defendant to a United States Marshal for the purpose of an appearance in connection

15         with a court proceeding; and

16      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

17         for the defendant, to the United States Marshal, and to the United State Pretrial Services

18         Officer.

19         DATED this 15th day of November, 2016.

20

21                                                       A
                                                         Mary Alice Theiler
22                                                       United States Magistrate Judge



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